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The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 17, 2022
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

      In re:                                                §         Case No. 18-30264-SGJ-11
                                                            §         Case No. 18-30265-SGJ-11
      ACIS CAPITAL MANAGEMENT, L.P.,                        §
      ACIS CAPITAL MANAGEMENT GP,                           §         (Jointly Administered Under Case
      LLC,                                                  §         No. 18-30264-SGJ-11)
                                                            §
               Debtors.                                     §         Chapter 11

      ACIS CAPITAL MANAGEMENT, L.P.,                        §
      ACIS CAPITAL MANAGEMENT GP,                           §
      LLC, Reorganized Debtors,                             §         Adversary No. 20-03060-SGJ
                                                            §
               Plaintiffs,                                  §
                                                            §
      vs.                                                   §
                                                            §
      JAMES DONDERO, FRANK                                  §
      WATERHOUSE, SCOTT ELLINGTON,                          §
      HUNTER COVITZ, ISAAC LEVENTON,                        §
      JEAN PAUL SEVILLA, THOMAS                             §
      SURGENT, GRANT SCOTT, HEATHER                         §
      BESTWICK, WILLIAM SCOTT, AND                          §
      CLO HOLDCO, LTD.,                                     §
                                                            §
               Defendants.



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         ORDER GRANTING MOTION FOR NEW SCHEDULING ORDER AND
         ENTERING AMENDED SCHEDULING/DOCKET CONTROL ORDER

       On February 1, 2022, the Court held a hearing regarding Plaintiffs’ Motion for New

Scheduling Order (“Motion”). [Dkt. #56]. Having considered the briefing, the arguments of

counsel, and all relevant authority, the Court finds the Motion to be meritorious. Accordingly, the

Court GRANTS the Motion and ORDERS that these deadlines shall replace and supersede the

deadlines in the current Alternative Scheduling Order (Dkt. #5):

   A. TRIAL DOCKET CALL & PRETRIAL CONFERENCE. The docket call for trial in this matter will

       be held on April 10, 2023 at 1:30 PM at 1100 Commerce Street, 14th Floor, Courtroom #1,

       Dallas, Texas 75242. Trial will take place during the month of April 2023 unless otherwise

       ordered by the Court.

   B. TRIAL STATUS CONFERENCE. A status conference will be held on January 9, 2023 at 2:30

       PM at 1100 Commerce Street, 14th Floor, Courtroom #1, Dallas, Texas 75242. At this

       status conference, the parties are expected to be prepared to discuss the status of this matter

       as it relates to its progression to trial.

   C. RULE 26(F) CONFERENCE. By March 3, 2022, the parties must confer about those matters

       listed in Federal Rule of Civil Procedure 26(f).

   D. RULE 26(A)(1) DISCLOSURES. By March 17, 2022, each party must provide to the other

       parties the initial disclosures required by Federal Rule of Civil Procedure 26(a)(1).

   E. AMENDMENTS TO PLEADINGS. By July 30, 2022, Plaintiff party must have sought leave to

       amend its complaint. Response to any amended complaint shall be due within Fifteen (15)

       days after filing of such amended complaint after leave is granted. With respect to any

       other pleading on file as of the date of this order other parties shall have until April 15,



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       2022 by which to seek leave to amend. All rights are reserved to all Parties with respect to

       amendment of pleadings.

   F. EXPERT DISCLOSURES & REPORTS. By October 31, 2022, each party must disclose to the

       other parties the identity of any witness it may use at trial to present evidence under Federal

       Rule of Evidence 702, 703, or 705 and provide a report complying with Federal Rule of

       Civil Procedure 26(a)(2)(B).

   G. REBUTTAL EXPERT REPORTS. By December 7, 2022, each party must provide to the other

       parties any written rebuttal expert reports.

   H. FACT DISCOVERY. By January 16, 2023, the parties must have completed all fact

       discovery.

   I. EXPERT DEPOSITIONS. By January 16, 2023, the parties must have completed the

       depositions of all experts.

   J. DISPOSITIVE MOTIONS. By January 23, 2023, the parties must have filed all dispositive

       motions, which must be heard by February 28, 2023.

   K. TRIAL EXHIBITS & TRIAL WITNESSES. By March 27, 2023, the parties must have filed a list

       of trial exhibits and exchanged all such trial exhibits (except for impeachment documents

       and demonstratives) and filed a list of witnesses to be called at trial. Each exhibit shall be

       marked with an exhibit label. By April 3, 2023, the parties, after conferring, must file any

       objections to trial exhibits and trial witnesses. All exhibits not objected to in writing by this

       date will be admitted into evidence at trial without further proof. Written objections to

       exhibits shall be taken up either at the beginning or during trial or at the pretrial conference.

   L. PRE-TRIAL MOTIONS. By April 3, 2023, the parties must have filed all pre-trial motions,

       such as motions in limine and motions challenging the admissibility of expert testimony.



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   M. JOINT PRE-TRIAL ORDER. By April 3, 2023, the parties must have filed a joint pre-trial order

       in compliance with Local District Court Rule 16.4. All counsel are responsible for

       preparing the Joint Pretrial Order, which shall contain the following: (a) a summary of the

       claims and defenses of each party; (b) a statement of stipulated facts; (c) a list of the

       contested issues of fact; (d) a list of contested issues of law; (e) an estimate of the length

       of trial; (f) a list of additional matters which would aid in the disposition of the case; and

       (g) the signature of each attorney.

   N. PROPOSED FINDINGS OF FACT AND CONCLUSIONS               OF   LAW & TRIAL BRIEFS. By April 3,

       2023, the parties must have filed written proposed findings of fact and conclusions of law.

       Any trial briefs addressing contested issues of law shall also be filed by this date.


       This Order is being entered without prejudice to the rights of the parties to seek to extend

or modify the terms of this Amended Scheduling/Docket Control Order.


                                       ## END OF ORDER ##




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ORDER SUBMITTED BY:

/s/ Joseph Y. Ahmad______
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